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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF GEORGIA
                                AUGUSTA DIVISION


 THE STATE OF GEORGIA, et al.,

                Plaintiffs,                                 CIVIL ACTION NO.: 1:21-cv-163

        v.

 JOSEPH R. BIDEN, in his official capacity as
 President of the United States, et al.,

                Defendants.


                                            ORDER

       On December 7, 2021, the Court entered a preliminary injunction in this case relating to

Executive Order 14042, which requires that contractors and subcontractors performing work on

certain federal contracts ensure that their employees and others working in connection with the

federal contracts are fully vaccinated against COVID-19. (Doc. 94.) As the Court stated in that

Order and reiterated in a subsequent Order, (doc. 105, pp. 1–2), this case is not a dispute about the

tragic toll COVID-19 continues to inflict on this nation or about the efficacy of vaccines in

protecting the health of individuals and the public. Rather, this case involves the narrow legal

question of the scope of the President’s authority under the Federal Property and Administrative

Services Act, 40 U.S.C. § 101 et seq. (also known as “the Procurement Act”). Defendants filed a

Notice of Appeal of the Order granting the preliminary injunction, (doc. 96), and

contemporaneously filed a request for clarification from the Court on two specific aspects of the

preliminary injunction, (see doc. 97, pp. 11–12), which request is presently pending before the
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Court. 1 Plaintiffs have filed a Response as to the request for clarification, (doc. 109), and

Defendants have filed a Reply, (doc. 111).

        In its Order granting the preliminary injunction, the Court included a thorough factual

background on Executive Order 14042 and the various actions that were undertaken to effectuate

its directives. (Doc. 94, pp. 3–7). In sum, the Executive Order directed the Safer Federal

Workforce Task Force to establish COVID-19 safeguards, which federal contractors entering into

certain contracts (hereinafter, “covered contracts”) with executive agencies would be contractually

required to follow. (Id.) The focus of the Court’s Order was the requirement that all covered

contractor employees working on or in connection with a covered contract or at a covered

contractor workplace be fully vaccinated against COVID-19. (Id.) In the Order, the Court

enjoined Defendants from “enforcing the vaccine mandate for federal contractors and

subcontractors in all covered contracts in any state or territory of the United States of America.”

(Id. at p. 27.)

        Defendants have requested clarification on two topics. First, they want to know whether

the preliminary injunction “prohibit[s] private federal contractors from mutually agreeing with

Defendants to include COVID-19 safety clauses in their federal contracts, thus allowing those

federal contractors to voluntarily comply with the Task Force guidelines, including requiring their

employees to be vaccinated.” (Doc. 97, pp. 11–12.) Second, they ask “whether the preliminary

injunction is limited to enforcement of the Safer Federal Workforce Task Force’s vaccination

requirements, o[r] whether it also prevents federal agencies from enforcing requirements related



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  The request for clarification was included at the end of “Defendants’ Emergency Motion for Stay Pending
Appeal and for Immediate Administrative Stay.” (Doc. 97.) The Court already denied (as withdrawn)
Defendants’ requests, in that document, to stay the preliminary injunction pending appeal and to narrow
the scope of the injunction, but the Court reserved ruling, pending further briefing, on the request for
clarification. (Doc. 105.)


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to masking and physical distancing and the identification of [person(s)] to coordinate COVID-19

workplace safety efforts at covered contractor workplaces.” (Id. at p. 12.)

        Generally, “[t]he filing of a notice of appeal is an event of jurisdictional significance—it

confers jurisdiction on the court of appeals and divests the district court of its control over those

aspects of the case involved in the appeal.” Griggs v. Provident Consumer Disc. Co., 459 U.S. 56,

58 (1982). But while an appeal is pending from an interlocutory order that grants an injunction,

the district court “may suspend, modify, restore, or grant an injunction on terms . . . that secure the

opposing party’s rights.” Fed. R. Civ. P. 62(d). Thus, a “[c]ourt has jurisdiction, notwithstanding

the Notice of Appeal, to supervise the enforcement of its injunction and to preserve the status quo

pending appeal” as stated in Federal Rule of Civil Procedure 62(c). Abdi v. Nielsen, 287 F. Supp.

3d 327, 332 (W.D.N.Y. 2018) (quoting Cullman Ventures, Inc. v. Columbian Art Works, Inc., No.

89 CIV. 312(KC), 1989 WL 94902, at *3 (S.D.N.Y. July 28, 1989)); see also Washington Metro.

Area Transit Comm’n v. Reliable Limousine Serv., LLC, 985 F. Supp. 2d 23, 30 (D.D.C. 2013)

(“[A] court’s authority to modify or clarify an injunction while on appeal is limited to preserving

the status quo or otherwise supervising compliance . . . .”). Accordingly, the Court has jurisdiction

to clarify, as necessary, the injunction so long as such clarification only preserves the status quo

and does not alter the parties’ rights.

        The Court declines to wade into the murky waters presented by Defendants’ first inquiry,

which is more akin to a request for an advisory opinion on the propriety of a vaguely-described

hypothetical situation than a request for clarification. See United States v. Espresso Italia

Marketing, Inc., No. 02-80545-CIV-MARRA/SELTZER, 2005 WL 8156276, at *2 (S.D. Fla. Dec.

16, 2005) (“Universal asks for a prototypical advisory opinion; it asks the Court to opine on the

applicability of the Stipulated Judgment to hypothetical future facts, namely, its ‘intended’




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business activities. It would be improper for the Court to comment (in advance) on whether those

prospective activities would violate the Stipulated Judgment.”); see also Hauck Mfg. Co. v. Astec

Indus., Inc., No. 1:03-CV-166, 2004 WL 3396122, at *3 (E.D. Tenn. Oct. 14, 2004) (noting that

court had denied motion to modify injunction to clarify that certain hypothetical activities would

not be prohibited thereby). Simply put, this first query does not provide grounds for the Court to

find that it needs to clarify its Order, particularly given the fact that it is currently pending appeal.

        While the second inquiry is more straightforward, the answer to the inquiry is evident from

the language the Court used—as well as the language the Court noticeably did not use—in issuing

the injunction. The Court stated, “Defendants are ENJOINED . . . from enforcing the vaccine

mandate . . . .” (Doc. 94, p. 27 (bold in original; italics added).) Accordingly, no clarification is

necessary. Indeed, Plaintiffs’ Amended Complaint asks, in its Prayer for Relief, for the Court to

“[e]nter a declaratory judgment that Defendants . . . have acted to impose a broad-sweeping,

unlawful, and unconstitutional COVID-19 vaccine mandate, and that such COVID-19 vaccine

mandate is unlawful and unenforceable,” and for the Court to “[g]rant a preliminary and permanent

injunction prohibiting Defendants and those acting in concert with them from enforcing this broad-

sweeping, unlawful, and unconstitutional mandate.” (Doc. 54, p. 55 (emphasis added).) While

there was evidence before the Court indicating that other COVID-19 safety-related requirements

were also established as a result of the Executive Order (i.e., masking and physical distancing

requirements), the evidence and arguments presented to the Court in the parties’ briefs and at the

hearing on the Motion for Preliminary Injunction focused almost exclusively on the vaccination

requirement, and the Court’s Order on the Motion for Preliminary Injunction did not reference,

discuss, or analyze any of the other COVID-19 safety-related requirements.




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       In light of the foregoing, the Court declines Defendants’ requests for clarification and

therefore DENIES the portion of the filing entitled “Defendants’ Emergency Motion for Stay

Pending Appeal and For Immediate Administrative Stay” that remains pending. (Doc. 97.)

       SO ORDERED, this 21st day of January, 2022.




                                    R. STAN BAKER
                                    UNITED STATES DISTRICT JUDGE
                                    SOUTHERN DISTRICT OF GEORGIA




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